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                                         IN THE UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF ARKANSAS
                                                 HOT SPRINGS DIVISION

                 ERIC FLORES                                                                        PLAINTIFF

                 v.                                   Case No. 14-6042

                 UNITED STATES ATTORNEY GENERAL,
                 UNITED STATES DEPARTMENT OF HEALTH
                 AND HUMAN SERVICES, and SIERRA
                 MEDICAL CENTER, a Public Health Service                                          DEFENDANTS

                                                             JUDGMENT

                          Now    on    this    13th    day    of    May   2014,     there      comes   on    for

                 consideration the report and recommendation filed herein on April

                 1, 2014, by the Honorable Barry A. Bryant, United States Magistrate

                 Judge     for the Western District of Arkansas.                            (Doc. 7).         No

                 objections were filed.1

                          The    court     has    reviewed       this     case    and,    being     well     and

                 sufficiently           advised,      finds        as   follows:         The     report      and

                 recommendation is proper and should be and hereby is adopted in its

                 entirety. Accordingly, Plaintiff’s Complaint (doc. 1) is DISMISSED

                 WITH PREJUDICE as his claims are frivolous, fantastic, fanciful, or

                 delusional and fail to state claims upon which relief can be

                 granted.        Plaintiff’s Motion to Transfer Multi District Litigation

                 (doc. 2) and Motion to Proceed IFP (doc. 3) are DENIED.                            Plaintiff

                 is hereby sanctioned in the amount of $350.00, which is in addition

                 to the $350.00 sanction previously imposed by the Honorable Susan



                      1
                                The Court notes that Plaintiff’s copy of the Report and Recommendation was
                                returned on May 1, 2014, as undeliverable and unable to forward. However,
                                Plaintiff has not provided the Court with any other address.


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                 O. Hickey in Civil No. 4:12cv4144 on January 25, 2013.             Plaintiff

                 is barred from filing any further complaint or petition in this

                 Court without first satisfying the combined $700.00 in sanctions

                 and barred from seeking to proceed in forma pauperis in this Court.

                 The U.S. District Clerk is directed to return any future pleadings

                 to Plaintiff without filing them absent proof of payment of such

                 sanctions.     Any new complaint submitted by Plaintiff shall be

                 returned absent proof of payment of such sanctions AND payment of

                 the Court’s filing fee for the new complaint.

                       IT IS SO ORDERED.

                                                          /s/ Robert T. Dawson
                                                          Honorable Robert T. Dawson
                                                          United States District Judge




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